             Case 2:18-cr-00422-DJH Document 503-1 Filed 03/19/19 Page 1 of 1




 1

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
 9

10   United States of America,                             Case No. CR-18-00422-PHX-SMB
11
                         Plaintiff,                   [PROPOSED] ORDER AMENDING
12   vs.                                              CONDITIONS OF RELEASE
13
     Michael Lacey
14
                       Defendant.
15
            Upon Defendant’s Motion to Amend his Conditions of Pretrial Release and Motion for
16
     Expedited Relief, and good cause appearing,
17
            IT IS HEREBY ORDERED THAT Defendant’s conditions of pretrial release are
18
     modified to remove the condition requiring continued use of an electronic monitoring device;
19
            IT IS FURTHER ORDERED by agreement of the parties, modifying release conditions
20
     to allow property bond (Doc. 65) to be replaced with substitute res of the net proceeds from the
21
     interlocutory sale of 1100 Union Street, San Francisco, California.
22

23   Dated: ________________________
                                                        __________________________________
24
                                                        Honorable Susan M. Brnovich
25                                                      United States District Judge
26

27

28
